                              UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DMSION

                                        NO.7:09-CR-126-5-F


UNITED STATES OF AMERICA,                      )
                                               )
                 v.                            )              ORDER
                                               )
DANIEL BELLO-PACHECO                           )
                Defendant.                     )



       The defendant, Daniel Bello-Pacheco, was sentenced in this court and judgment was

entered for appeal purposes on May 13,2010. See Judgment [DE-120]; FED. R. APP. P.

4(b)(1)(A)(i). On August 23, 2010, the Clerk's Office received a letter [DE-134] from Bello-

Pacheco, postmarked August 20th , explaining that he had asked his court appointed trial

attorney to appeal his sentence but that "he" did not do SO.l Bello-Pacheco also seeks

appointment of another attorney to file an appeal "and be retryed [sic] in hoped of a better

outcome" and to "work on getting me moved from this jaW ASAP, please."

           The deadline for Bello-Pacheco to have filed a Notice of Appeal was 14 days after entry

ofjudgment in his case - that is, May 27, 2010. This court, upon motion and a finding of

excusable neglect, could have extended that time to and including June 28, 2010, but no later.

See Fed. R. App. P. 4(b)(4). However, Bello-Pacheco's August 23, 2010, letter is three months
too late to be deemed either a notice of appeal or succeed as a motion for an extension of time

within which to do so. To the extent that the August 23 rd letter [DE-134] seeks either remedy,

such request is DENIED, as is his incorporated motion for appointment of counsel [DE-132].




       1     Mr. Bello-Pacheco was represented by Ms. Leza Lee Driscoll, Esq.

       2    Mr. Bello-Pacheco is housed at the Western Tidewater Regional Jail in Suffolk,
Virginia.


            Case 7:09-cr-00126-F       Document 135       Filed 08/25/10     Page 1 of 2
SO ORDERED.
             "
This, the 1. If day of August, 2010.



                                               ESC. FOX
                                            enior United States District Judge




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 Case 7:09-cr-00126-F        Document 135     Filed 08/25/10     Page 2 of 2
